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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          UNITED STATES OF AMERICA,                        CASE NO. CR17-0111-JCC
10                             Plaintiff,                    ORDER
11                     v.

12          JESSICA L. ASHBY,

13                             Defendant.
14

15          This matter comes before the Court on the Government’s unopposed motion to seal
16   exhibit 3 to its sentencing memorandum (Dkt. No. 85) and Defendant Ashby’s motion to seal the
17   defense sentencing memorandum and attached exhibits (Dkt. No. 87). Given the sensitive
18   information contained in these filings, the Court finds good cause to seal. The motions to seal
19   (Dkt. Nos. 85, 87) are GRANTED. The Clerk is DIRECT to maintain docket Numbers 86, 88,
20   and 90 under seal.
21          DATED this 2nd day of January 2018.




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                                                          John C. Coughenour
25                                                        UNITED STATES DISTRICT JUDGE
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     ORDER
     CR17-0111-JCC
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